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     IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
                               OF FLORIDA

                                    Case No. 1:20-cv-21994-AHS

   FLORIDA FAIR HOUSING ALLIANCE,
   INC.

                   Plaintiff,
                   V.


   TOP WELL. LLC d/b/a/ PALM COURT APARTMENTS
   AT WELLINGTON


                   Defendant.


     DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE IN OPPOSITION TO
                        MOTION TO DISMISS

   Defendant, Top Well, Inc, (Top Well) by and through the undersigned attorney files this

   Reply to Plaintiff’s Response to Motion to Dismiss and states:


                                             INTRODUCTION

   1) Plaintiff’s (Response) is based upon Plaintiff’s two-part fact pattern.

          a. Plaintiff is a fair housing organization agency that “due to suspicions” (Paragraph 3)

              had its “Field Tester” make one phone call conduct an investigation.




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              b. The “field tester” made a single cold call to phone number 561-793-8500 was

                  connected to someone he claims to be an agent of the Defendant who identified

                  herself as Melissa. Tester asked whether rental property was available, to which

                  Defendant responded, without hesitation, that property was available, namely, a two-

                  bedroom unit was available. Tester then asked whether his rental application would

                  be denied due to (“FT’s) record felony conviction, to which Defendant retorted: “yes,

                  with a prior criminal felony they won’t accept.”

   2. Based only upon those facts, Plaintiff advances a single claim against Defendant for violating

          § 3604(d) of the FHA by causing a disparate impact (Paragraph 2).

                                       ISSUES, RESPONSE AND REPLY

   3. The issues raised by Defendant in its 12(b)(6) motion and the Plaintiff’s responses and the

          Defendants replies to the issues are:

              a. Although Plaintiff has alleged some national statistical data, none was for Palm Beach

                  County. (MTD p, 11)

                       i. (Response, p, 5, 13, 14 and 15) Plaintiff offers a circular argument that says

                           that statistical evidence is not necessary and that the Supreme Court in

                           Inclusive Cmtys. Project, Inc.135 S. Ct. 2507, Cautions against using

                           statistical evidence.

                               1. Reply - The reason for the caution is that people will try to us it exactly

                                    as Plaintiff is trying to use it in this case. The HUD guidance of April

                                    4, 20161 (HUD Guidance) states in Section 3 A paragraph 2:



   1
       Office of General Counsel Guidance on Application of Fair Housing Standards to Use of Criminal Records …

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                          “Whether national or local statistical evidence should be used to evaluate a
                         discriminatory effects claim at the first step of the analysis depends on the
                         nature of the claim alleged and the fact of the case. Where state and local
                         statistics should be presented where available and appropriate based on a
                         housing providers market area …

                         In this case there is complex in Wellington Florida and there is no claim that

                         it solicits outside its area.


             b. Plaintiff is not a Fair Housing organization but is actually a litigation mill. (MTD p,

                 12 & 16).

                      i. Plaintiff did not respond to this statement.

                              1. Reply – Plaintiff, in its first amended complaint, relies upon HUD

                                  Guidance to bolster its claim. However, HUD’s guidebook2 Chapter 7

                                  is a 51-page outline on “Planning and Conducting an investigation”.

                                  Plaintiff, made one phone call failed to comply with any of the other

                                  requirements necessary to comply with the guidelines necessary for an

                                  investigation.

             c. Plaintiff failed to plead the damages with the specificity as required by Havens Realty

                 Corp. v Coleman 455 U.S. 363, 379 (1982) (MTD p, 14), instead it recited the claims

                 used by HOMES in Havens “petitioners steering practices have perceptibly impaired

                 HOME’s ability to provide counseling and referral services …”

                      i. Response – None

                              1. Reply – Although there was no response, Defendant has received new

                                  evidence in relation to this matter. Defendant filed an Exhibit 1 (Doc


   2
       HUD Handbook No, 8024.1, Rev-2 issued May 11, 2005

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                       19) Plaintiff incorporation papers from February 22, 2020 where the

                       purpose was declared to be a charity. The new evidence, attached as

                       exhibit “1” is Plaintiff Certified application with to the Florida

                       Department of Agriculture and Consumer Services on July 1, 2020.

                       Plaintiffs to become a charitable business, a document that must be

                       filed before a charity can solicit funds in Florida. According to that

                       document, page 3 of 4, the company has had no revenue and no

                       expenses. Further, the document, page 1, states that it is an

                       application. On page 4 the application states that the information is

                       provided for the purpose of complying with Chapter 496 of the Florida

                       Statutes. If the Plaintiff has no revenue and no expenses, how did

                       Defendant, in March when this complaint was filed, cause Plaintiff to

                       (Amended complaint Paragraph 32) impair FFH Alliance’s ability to

                       engage in projects by forcing the FFH Alliance to devote resources to

                       counteract the herein complained of actions of Defendant. How did

                       Plaintiff divert funds for the cost of detecting and challenging via non-

                       legal means the misconduct of Defendant and how did the divert

                       resources from counseling outreach and education? How are

                       Plaintiff’s goals thwarted when they had no funds to pursue them.

                       What is the irreparable injury and threat of immediate threat by a

                       complex 60 miles away from Plaintiff that is not doing any business

                       in its neighborhood?


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                         Heartland Surgical Specialty Hosp., v Midwest Div., Inc. 2007 U.S.
                         Dist. LEXIS 220090 U.S. Dist. Ct Kan (Mar 2007) Until the business
                         is operating it cannot suffer damages “Moreover, once it was legally
                         formed, Heartland did not immediately enter the market. It first sought
                         to solicit additional investors by means of a prospectus” … “none of
                         those activities could have affected Heartland until after it began
                         soliciting investors in early 2000.

                         Florida Statute 496.406 Plaintiff could not have started soliciting prior

                         to its application, therefore it could not have suffered any financial

                         damages. Further this fact pattern does not support the damages claim.


                         Spann v Colonial Village, Inc. 899 F.2d 24 (U.S. Ct of App DC March
                         1990 An organization cannot, of course, manufacture the injury
                         necessary to maintain a suit from its expenditure of resources on that
                         very suit. Were we to Rule otherwise, any litigant could create injury
                         in fact by bringing a case, and Article III would present no real
                         limitation.

        d. Plaintiff failed to allege any more than threadbare conclusory statements that

           Defendant claimed actions did not serve a substantial, legitimate, nondiscriminatory

           interest of the housing provider. (MTD p, 17)

                      1. Response, Plaintiff claims that they have made a claim for disparate

                         impact sufficient to get past a 12(b)(6) motion so it never addressed

                         this issue with the bald assertion that there is racial disparity at the

                         complex and statistically more blacks and Hispanics have felony

                         conviction than whites so there must be disparity.

                             a. Reply – Although Plaintiff makes the statement, based upon

                                 the one phone call the allegations are without sufficient factual

                                 matter to be accepted as true or even plausible.


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          e. That the Plaintiff failed to establish that the Defendants claimed actions were a Policy

              of Practice. (MTO p, P17, 18a).

                  i. Plaintiff’s response did not address this issue.

                         1. Defendant relies on its pleadings in the 12(b)(6).

          f. That the Plaintiff failed to establish that the Defendants claimed actions had a

              disparate impact on individuals of a particular race. (MTO p, P17, 18b)

                         1. Response “Defendant is wrong”. Response between Paragraph 12 and

                             13. Paragraph 15, Plaintiff again discusses the fact that statistically

                             Blacks and Hispanics have a higher felony conviction rate so the

                             complex must have a disparate impact.

                         2. Reply - Although Plaintiff makes the bald assertion that there is racial

                             disparity at the complex. This statement is does not provide the court

                             with sufficient factual matter to support this allegation. Further, based

                             upon the failure of Plaintiff to perform an investigation the Plaintiff

                             has no knowledge of any disparity at the complex. Plaintiff is requiring

                             the court to assume it exists.

          g. Defendant cited Carson v Hernandez: 2018 U.S. Dist. Lexis 185782 (July 26, 2018)

              citing Inclusive Cmtys. Project, Inc.135 S. Ct. 2507. In its 12(b)(6) motion which

              states:

   In Inclusive Communities, the court held: “[A] disparate impact claim that relies on a
      statistical disparity must fail if the Plaintiff cannot point to a defendant’s policy or
      policies causing the disparity. A robust causality requirement ensures that [r]acial
      imbalance does not, without more, establish a prima facie case of disparate impact” and
      thus protects the defendant from being held liable for racial disparities the did not
      create. Id. At 2523 (quoted case omitted) Accordingly. “[A] plaintiff who fails to allege
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      facts at the pleading state or produce statistical evidence demonstrating a causal
      connection cannot make out a prima facie case of disparate impact.” Id at 2523.
   In the case sub Judice. Plaintiff has not identified any specific policy or practice of
      defendants that caused a disparate impact on a protected group. He avers only
      generally that the “practice and policy” to deny housing from those released from
      prison and cites purported disparate impact on African Americans based on
      statistical data. Doc. 3 at 2; 7 at 2-3. Assuming arguendo, that Defendants had a
      policy of rejecting applicants with felony convictions, regardless of the age of the
      convictions, Plaintiff has wholly failed to demonstrate a “robust causal connection
      between the alleged policy or practice and the perceived adverse discriminatory
      effect. Inclusive Cttys., 135 S. Ct. at 2513, Certainly a policy of excluding convicted
      felons for tenancy did not cause the underlying disparity. Plaintiff cites, to-wit, the
      historical disproportion of African Americans convicted of felony offences in the
      United States. Doc. 3 at 3. In any event, such a policy is not “otherwise unjustified
      by a legitimate rational” Inclusive Cmtys, 135 S. Ct. at 2513, as it is obviously
      pertinent to maintaining a crime-free environment.

   4. Instead of discussing Carson, Plaintiff relies on Jackson v. Tryon Park Apartments 2019

      U.S. Dist. LEXIS 12473 at 7* (W.D.N.Y. Jan 25, 2019) without trying to distinguish the two.

      The Jackson case was a 12(b)(6) motion and the court, which did cite Inclusive Communities,

      did not address the issue of a substantial, legitimate, nondiscriminatory interest of the housing

      provider and based upon a reading of the decision it does not appear that it was raised. This

      would not be unusual because normally the burden of proof is on the Plaintiff to make a claim

      and then it shifts to the Defendant. However, in our case, because the Plaintiff’s pleadings

      do not state a claim and all of the plaintiff’s evidence has been plead, the court may take

      notice that Plaintiff’s pleadings do not state a sufficient factual bases or plausible statements

      that there is no legitimate rational as required by the HUD Guidance, Inclusive Communities

      and Carson. Plaintiff is trying to put an elephant into a mousehole by claiming that the HUD

      Guidance and Jackson v Tryon make felons a protected class. This violate the major issues

      doctrine as will be discussed in the Memorandum of Law.




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                                        MEMORANDUM OF LAW



   5. Plaintiff has brought this suit base upon a violation of 42 U.S.C. §3604 (d) with the claim

       that this is a disparate impact case. The factual allegations necessary to succeed in a claim

       for disparate impact are: 24 CFR § 100.500(c)(1) requires that the plaintiff, with respect to

       a claim brought under 42 U.S.C. 3613, has the burden of proving that a challenged practice

       caused or predictably will cause a discriminatory effect. The Plaintiff has simply stated that

       the Defendant has a policy of not allowing convicted felons to rent in the complex.

   6. Pursuant to Rule 12(b)(6), ‘a complaint must contain sufficient factual matter, accepted as true, to

       state a claim to relief that is plausible on its face.’” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

       (2009) (internal quotation marks omitted). This plausibility standard is met “when the plaintiff pleads

       factual content that allows the court to draw the reasonable inference that the defendant is liable for

       the misconduct alleged.” Iqbal, 556 U.S. at 678. “We assess plausibility by ‘draw[ing] on [our own]

       judicial experience and common sense.’” Haney, 837 F.3d at 924 (alterations in original) (quoting

       Iqbal, 556 U.S. at 679). “Further, we ‘review the plausibility of the plaintiff’s claim as a whole, not

       the plausibility of each individual allegation.’” Id. (quoting Zoltek Corp. v. Structural Polymer Grp.,

       592 F.3d 893, 896 n.4 (8th Cir. 2010)). And “[a] pleading that offers ‘labels and conclusions’ or ‘a

       formulaic recitation of the elements of a cause of action will not do.’” Iqbal, 550 U.S. at 678 (quoting

       Bell Atl. Corp. v.Twombly, 550 U.S. 544, 555 (2007)).

   7. The office of Fair Housing, HUD filed with the Federal Register its new Rules titled

       Preserving Community and Neighborhood Choices. In the new Rules it repealed the 2015

       AFH and the 1994 AI requirements where they appear in the regulations. In so doing they

       discussed the broad principle has centered on an important concept in Administrative Law

       known as “the major issues doctrine.” Under this doctrine, judges “presume that
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      Congress does not delegate its authority to settle or amend major social and economic policy

      decisions.” The reason is that a “major policy change should be made by the most

      democratically accountable process.” If an “agency wants to exercise expansive regulatory

      authority over some major social or regulatory activity . . . an ambiguous grant of statutory

      authority is not enough.” As the Supreme Court has put it, when it comes to delegating

      authority to federal agencies, Congress “does not one might say, hide elephants in

      mouseholes.” Thus, the Court has held that a regulatory interpretation by an agency is

      “unreasonable” if it results in “an enormous and transformative expansion in . . . regulatory

      authority without clear congressional authorization.” Indeed, “[w]hen an agency claims to

      discover in a long-extant statute an unheralded power to regulate a significant portion of the

      American economy,” the Supreme Court will “typically greet its announcement with a

      measure of skepticism.” Rather, the Court expects that Congress will “speak clearly if it

      wishes to assign an agency decisions of vast economic and political significance.

   8. Recently, in BOSTOCK v. CLAYTON COUNTY, GEORGIA CERTIORARI TO THE UNITED

      STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT No. 17–1618. Argued October

      8, 2019—Decided June 15, 2020* Cite as: 590 U. S. ____ (2020) The Supreme Court determined

      that an employer who intentionally fires an individual homosexual or transgender employee in part

      because of that individual’s sex violates the law even if the employer is willing to subject all male

      and female homosexual or transgender employees to the same rule. Part of the analysis was that you

      cannot fail to discuss sex when trying to make the division between why there were different rules.

   9. With Felons the court can discuss the differences between Convicted Felons, Persons convicted of

      any crime, persons charged with crimes, persons suspected of crimes all without discussing Race,

      Ethnicity, Gender etc.

   Defendants Motion to Dismiss the under Rule 12(b)(6) should be Granted and Defendants

     Motion for Attorney’s fees under 42 U.S.C.S. (c)(2) should be Granted.

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   Respectfully submitted on August 14, 2020.

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                                    CERTIFICATE OF SERVICE

   I hereby certify that a true and correct copy of the foregoing was served by Notice of Electronic

     Filing generated by CM/ECF on this August 14, 2020, to all counsel or parties of record on the

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